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    CaseII 2:18-cv-03739-PSG-E Document 140 Filed 07/11/19 Page 1 of 7 Page ID #:2332




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     s                            UNITED STATES,DISTRICT COURT
     9
                               CENTRAL DISTRICT OF CALIFORNIA
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    11
             ~ CRYSTAL HOLMES,                     Case No.: 2:18-CV-3739-PSG(Ex)
    12                      Plaintiff,
    13
                      v.
    14 I                                           JOINT REVISED P~~S~
                                                   JUDGMENT AFTE JURY
    15 ~ ~ ROSALINA HARRIS,                        VERDICT
 16 ~                      Defendant.
 17 ~,

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                             [PROPOSED]JUDGMENT AFTER JURY VER
                                                               DICT
Case 2:18-cv-03739-PSG-E Document 140 Filed 07/11/19 Page 2 of 7 Page ID #:2333
    2:18-cv-03739-PSG-E Document 139-1 Filed 07/10/19 Page 2 of 7 Page ID #:2326



 1         The parties jointly submit their Revised Proposed Judgment, as follows.
 2
 3    DATED: July 9, 2019                  Respectfully submitted,
 4                                         BROWN WHITE & OSBORN LLP

 5                                               /s/ Caleb E. Mason
                                           BV
 6                                                            CALEB E. MASON
                                                           SCOTT L. MENGER
 7
                                                           Attorneys for Plaintiff
 8                                                         CRYSTAL HOLMES

 9
     I DATED: July 9, 2019                SEKI,IVISHIMURA & WATASE,LLP
10
                                                /s/ Parisa Saleki
11                                        By
                                                       ANDREW C.PONGRACZ
12                                                          PARISA SALEKI
13                                               Attorneys for Defendant Rosalina Harris

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                       [PROPOSED]JUDGMENT AFTER JURY VERDICT
Case 2:18-cv-03739-PSG-E Document 140 Filed 07/11/19 Page 3 of 7 Page ID #:2334
     2:18-cv-03739-PSG-E Document 139-1 Filed 07/10/19 Page 3 of 7 Page ID #:2327




1          On July 2, 2019, at the conclusion of trial on a claim for relief by Plaintiff
2    Crystal Holmes against Defendant Rosalina Harris under 42 U.S.C. § 1983, in
3    Courtroom 6A in the matter captioned above, a duly impaneled and sworn jury
4    rendered the verdict set forth in the Special Verdict Form appended hereto as Exhibit
5    A. The verdict, having been published to the jury and to the parties and their counsel,
6    the Court having accepted and filed the verdict, and the Court having polled the jury,
7    and the jury having confirmed that this was their verdict, the Court hereby enters
8    judgment on the Complaint in accordance with the verdict.
9          Judgment is entered in favor of Plaintiff Crystal Holmes against Defendant
10   Rosalina Harris, as follows:
11

12         Damages:                    ~     $765,952.00
13         Punitive Damages:                 $1,500,000.00
l4          Total:                           $2,265,952.00
15

16         Plaintiff Crystal Holmes is the prevailing party, as against Defendant Rosalina
17   Harris.l Costs of suit are to be awarded to Plaintiff Crystal Holmes pursuant to a duly
18   filed Memorandum of Costs. Any claim for attorneys' fees shall be made by post-trial
19    motion filed in accordance with applicable law.
20

21          IT IS SO ORDERED.
22

23   DATED:          ~`~< <~                    By:
                                                        HO .PHILIP S. GUTIERREZ
24
                                                        U.S. District Court Judge
25

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27
   'The Court previously.granted.summary judgment in favor of Defendants Dean
   Harris and Arlani Harris on claims under 42 U.S.C.§ 1983 and for malicious
28
   prosecution, and in favor of Rosalina Harris on the claim for malicious prosecution.
   ECF Doc. 82(May 15, 2019).

                          [PROPOSED]JUDGMENT AFTER JURY VERDICT
Case~ ~ 2:18-cv-03739-PSG-E Document 140 Filed 07/11/19 Page 4 of 7 Page ID #:2335
        2:18-cv-03739-PSG-E Document 139-1 Filed 07/10/19 Page 4 of 7 Page ID #:2328



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                                      EXHIBIT A
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     g                                       UNITED STATES DISTRICT COURT
     9 ~                                    CENTRAL DISTRICT OF CALIFORNIA
   10
             CRYSTAL HOLMES,                                                                Case No.: 2:18-CV-3739-PSG (Ex)
   11

    12                                                                                      SPECIAL VERDICT FORM
                                          Plaintiff,
   13                            v.
    14

    15 '     ROSALINA HARRIS,
    16                                Defendant.
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Case 2:18-cv-03739-PSG-E Document 140 Filed 07/11/19 Page 6 of 7 Page ID #:2337
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   1 1 We,the jury in the above-entitled ease, find on this special verdict form as follows:
   2 1
   3 ' Question 1. Did Defendant Rosalina Harris violate Plaintiff Crystal Holmes' Fourth

          Amendment right, guaranteed by-the United States Constitution, to be free from
   4 1                                          f
   5 unreasonable arrest without probable cause?
   6
    7 1      `~        Yes
    8
    9
   10            If you answered "Yes," then continue to Questions 2 and 3. If you answered
   11     "No," stop here, and have the foreperson sign and date this form.
   12
   13     Question 2. What are Plaintiff's damages?
   14
   15
   16
   17                   Next, answer Question 3.
   18
   19     Question 3. Did Defendant Rosalina Harris act with malice, oppression, or reckless
   20      disregard ofPlaintiffs constitutional rights?
   21
   22        ~          Yes
   23
   24                   No
   25 i
   26      If you answered "Yes," then continue to Question 4 on the next page. If you answered
   27 "No," stop here, and have the foreperson sign and date this form.
   28

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    1   Question 4. We impose punitive damages against Defendant Rosalina Harris in the
    2   following amount:
    3
    4   $      j , 5~ ~,i l liUn-
    5
    6           Signed                                               Dated:    ?l~ l
    7
                          Jury Foreperson

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